. Case 3:23-cv-04146-VC Document 62 Filed O3fexigat Pps of 1
Colvin et al., Plaintiff(s) APS International, Ltd.
1-800-328-7171

Roblox Corporation, et. al., Defendant(s) uy
aps INTERNATIONAL | CivilActionGroup.com

APS File: 284608-1

AFFIDAVIT OF SERVICE ON A CORPORATION

Law Firm Requesting Service: =<
WEITZ & LUXENBERG Service in a foreign country pursuant to Article 10 of the Hague
Mr. Aaron Freedman Service Convention
700 Broadway
-- Studs Entertainment LTD

New York, NY 10003-9536
ew wer Court Case No. 3:23-cv-04146-VC

, undersigned, being duly sworn, deposes and says

Mrs. Soulla Kleanthous
-one, was not a party to this action;

Name of Server: Mrs. | antho -
that at the time of service, s/he was over the age of twenty

that on 26-Jan-2024 11:45 am

Date/Time of Service ee
25 Voukourestiou Street, Neptune House, 1st Floor, Suite 11

Place of Service:

, Limassol 3045, Cyprus

the undersigned served the documents described as:
in a Civil Action, Class Action Complaint for Damages, Order

Documents Served:
dlines, Notice of Electronic Filing, Standing Order for

Summary of the Document to be Served, Summons

Setting Initial Case Management Conference and ADR Dea
All Judges of the Northern District of California/Contents of Case Management Statement, Standing Order for Civil

Cases Before Judge Vince Chhabria, Standing Order for Civil Trials Before Judge Vince Chhabria, Notice of
Availability of Magistrate Judge to Exercise Jurisdiction, USDC Local Civil Rules, Greek Translations

A true and correct copy of the aforesaid document(s) was served on:

Person Served, and Studs Entertainment LTD SSS
Method of Service: By delivering them into the hands of an officer, managing agent, or other perso authorized

to accept service of process, whose name and title is

Service of Process on,

Mr. Michael Chambers, Attorney 99

Delivered at registered address of Studs Entertainment Ltd. Served under Cyprus

Foreign Law:
Civil Procedure Rules.

The person receiving documents is described as follows:
Sex M; Skin Color Caucasian ; Hair Color Brown — ; Facial Hair N/A

Approx. Age 50-55 __; Approx. Height -

509"  ; Approx. Weight 176
To the best of my knowledge and belief, said person was not engaged in the US Military
at the time of service.

Undersigned declares under penalty of
perjury y that the foregoing is true and correct.

Description of
Person Receiving
Documents:

Subscribed and sworn to before me this

___ day of — — 20 _

- - Notary Public

(Commission Expires)

APS Intertiational, Ltd.

APS International Plaza - 7800 Glenroy Rd.
Minneapolis, MN 55439-3122

Sworn and signed before me

At the district court

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v Bin ( es

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Limassol this t

Nektarios Pippiros
